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            EXHIBIT B
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FOR IMMEDIATE RELEASE                            Contact: Communications Office (Baucus) 202-224-4515
June 22, 2011                                                      Jill Gerber (Grassley) 202-224-6522

BAUCUS, GRASSLEY QUESTION MEDTRONIC ABOUT UNREPORTED SIDE EFFECTS,
              FINANCIAL TIES TO CLINICAL INVESTIGATORS
                    Finance Leaders Begin Investigation Into Medtronic Infuse Trials

Washington, DC – Senate Finance Committee Chairman Max Baucus (D-Mont.) and senior Committee
member Chuck Grassley (R-Iowa) asked medical device manufacturer Medtronic on Tuesday to produce
documents related to its controversial bone growth product Infuse. In a letter sent to Medtronic, the
Committee raised concerns over recent media reports that indicate medical researchers in charge of
Infuse clinical trials may have been aware of and failed to report evidence that the product may cause
sterility in men and potentially-harmful bone growth. The letter also notes many of these investigators
had substantial financial ties to the device manufacturer.

“These reports that doctors conducting medical trials while on Medtronic’s payroll may have hidden
serious side effects for patients are deeply troubling,” said Senate Finance Committee Chairman
Baucus. “Information is one of the most important tools patients and doctors have when making
medical decisions. Patients have a right to know the risks associated with their treatments, and
medical device companies have a duty to disclose this information. We need to do everything we can
to ensure companies aren’t concealing serious medical complications from patients just to increase
profits.”

“A patient having surgery has to rely on his doctor’s knowing the risks and benefits of a medical
device. The doctor in turn has to rely on the medical literature. If the medical literature has been
written by those with financial ties to the device maker, the doctor and his patient should know
that. A lack of transparency leaves doctors and patients in the dark on something any of us would
want to know before surgery. It’s alarming to learn after the fact that articles draw conflicting
conclusions about a device’s safety and complications. The lack of disclosure of payments raises
questions about the integrity of the conclusions reached, whether integrity was compromised or not,”
said senior committee member Grassley.

The full text of Baucus’s and Grassley’s letter to Medtronic appears below:


                                             June 21, 2011

Via Electronic Transmission

Omar Ishrak, Ph.D.
Chairman and Chief Executive Officer
Medtronic, Inc.
710 Medtronic Parkway
Minneapolis, MN 55432
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Dear Dr. Ishrak:

The United States Senate Committee on Finance (Committee) has jurisdiction over the Medicare and
Medicaid programs. As Chairman and a senior member of the Committee, we have a special
responsibility to the more than 100 million Americans who receive health care under those programs to
ensure that beneficiaries receive treatments that are safe and effective.

We are extremely troubled by press reports suggesting that doctors conducting clinical trials examining
the safety and effectiveness of Infuse on behalf of Medtronic were aware that Infuse, a treatment
commonly used in spinal surgery, may cause medical complications, but failed to report this in the
medical literature. This issue is compounded by the fact that some clinical investigators have substantial
financial ties to Medtronic.

                  Last year, the Milwaukee Journal Sentinel reported that a Medtronic-funded study
                   published in 2004 found that 75% of bone morphogenetic protein 2 (BMP-2) patients
                   experienced ectopic bone growth, where potentially harmful bone growth occurs
                   outside of the fusion area. The authors, who had financial ties to Medtronic,
                   “concluded that ‘although not desirable,’” the ectopic bone growth “did not appear to
                   have an ill effect on the patients.” However, in a separate 2008 study conducted by
                   physicians without financial ties to Medtronic, “neurological impairment occurred” in
                   five patients who had the same ectopic bone formation.[1]

                  According to the New York Times, a recent study “found that men treated with Infuse
                   developed a condition that causes temporary or permanent sterility at a far higher rate
                   than men who received a bone graft.” This link to sterility was not reported in the
                   original Medtronic-funded study.[2] In addition, the Milwaukee Sentinel Journal reports
                   that one author of the original study, Thomas A. Zdeblick, an orthopedic surgeon at the
                   University of Wisconsin School of Medicine and Public Health, received “more than $23
                   million in various royalty payments from Medtronic since 2002.” In addition, “Zdeblick
                   also is the editor of the journal where two of the Infuse papers that failed to mention
                   the link [to sterility] were published.”[3]

We are also concerned that other severe side-effects of Infuse and similar bone-growth products
developed by Medtronic may have been unreported or under-reported in clinical literature. Reports
have linked Infuse to potentially fatal swelling in the neck and throat, and radiating leg pain. Concerns
have also been expressed about a potential link to cancer.[4]

Given these concerns, please provide the Committee with the following documents:

        1. All documents and communications pertaining to adverse postoperative events and/or
           medical complications relating to the use of recombinant human bone morphogenetic
           protein 2 (rhBMP-2) treatments, including but not limited to:

                   a. All communications with and regarding medical journals or their representatives
                      pertaining to adverse postoperative events and/or medical complications relating to
                      the use of recombinant human bone morphogenetic protein 2 (rhBMP-2)
                      treatments.

[1]
    “Complications rise along with off-label use of BMP-2,” Journal Sentinel, August 28, 2010.
[2]
    “New Study Links Spine Product From Medtronic to Risk of Sterility in Men,” New York Times, May 25, 2011.
[3]
    “Researchers get royalties, papers omit sterility link,” Journal Sentinel, May 25, 2011.
[4]
    “Complications rise along with off-label use of BMP-2,” supra note 1.
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                b. All communications with and regarding clinical investigators who participated in
                   Medtronic sponsored clinical trials pertaining to adverse postoperative events
                   and/or medical complications relating to the use of rhBMP-2 treatments.

                c. All communications with and regarding the Food and Drug Administration (FDA)
                   pertaining to adverse postoperative events and/or medical complications relating to
                   the use of rhBMP-2 treatments.

                d. All communications and records between and among Medtronic and members of
                   FDA Advisory Boards pertaining to adverse postoperative events and/or medical
                   complications relating to the use of rhBMP-2 treatments.

                e. All communications and records between and among Medtronic and physician
                   consultants pertaining to adverse postoperative events and/or medical
                   complications relating to the use of rhBMP-2 treatments.

        2. A detailed account of payments that Medtronic made to all Infuse clinical
           investigators. Please include payments to corporate entities in which Medtronic-
           sponsored Infuse clinical investigators are principals.

        3. For each individual and organization identified in question number 2 above, please
           provide the following information for each payment in table format:

                a. Date of payment
                b. Payment description (CME, royalty, honorarium, research support, etc.)
                c. Amount of payment
                d. Year end or year-to-date payment total

In cooperating with the Committee’s review, no documents, records, data, or other information
related to these matters, either directly or indirectly, shall be destroyed, modified, removed, or
otherwise made inaccessible to the Committee.

We look forward to hearing from you by no later than July 11, 2011. All documents responsive to
this request should be sent electronically, on a disc, in searchable PDF format to [staff] and [staff].

If you have any questions, please do not hesitate to contact [staff] with Senator Baucus at (202)
224-4515 or [staff] with Senator Grassley at (202) 224-6522.

                                               Sincerely,




                        Charles E. Grassley                                  Max Baucus
                         Senator                                             Chairman


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